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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                              MONROE DIVISION


  BILLY W. JONES AND BRANDI                         CIVIL ACTION NO.
  JONES
                   Plaintiff
                                                    JUDGE ________________
                   v.
                                                    MAG. JUDGE ____________
  CORNERSTONE HOSPITAL OF WEST
  MONROE AND PROFESSIONAL
  HOME HEALTH SERVICES
                          Defendants


                                  NOTICE OF REMOVAL

  TO:    THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF LOUISIANA

         NOW INTO COURT, comes Defendant, Cornerstone Hospital of West

  Monroe, LLC, improperly named in Plaintiffs’ Petition as Cornerstone Hospital of West

  Monroe, and pursuant to 28 U.S.C. §1441, with full reservation of rights and defenses,

  respectfully submits this Notice of Removal of a civil action currently pending against it

  in the 4th Judicial District Court for the Parish of Ouachita, State of Louisiana.

         In support of this removal notice, Cornerstone states:

                                               1.

         Cornerstone Hospital of West Monroe, LLC has been made a defendant in a

  civil action pending in the 4th Judicial District Court for the Parish of Ouachita, State of

  Louisiana, captioned as: Billy W. Jones and Brandi Jones v. v. Cornerstone Hospital of


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  West Monroe and Professional Home Health Services, and bearing Docket No. 13-1989

  (CV. Sect. 5).

                                                 2.

          Cornerstone Hospital of West Monroe, LLC first received notice of this suit on

  or about July 15, 2013, when it was served, through C T Corporation System, with a copy

  of the Plaintiffs’ Petition for Damages.

                                                 3.

          Cornerstone Hospital of West Monroe, LLC did not receive notice of the

  lawsuit before June 26, 2013, the date on which Plaintiffs’ Petition for Damages was filed

  in state court.

                                                 4.

          This removal notice is being filed within thirty (30) days of Defendant

  Cornerstone Hospital of West Monroe, LLC’s first receipt on July 15, 2013, though

  service or otherwise, of the initial pleadings setting forth Plaintiffs’ claims for relief upon

  which the action is based. This removal notice is also being filed less than one year after

  suit was commenced in state court on June 26, 2013. Therefore, this removal notice is

  timely under 28 U.S.C. §1446(b).

                                                 5.

          Pursuant to 28 U.S.C. §1441(a), the United States District Court for the Western

  District of Louisiana (Monroe Division) is the federal district court for the district

  embracing the place where the state court suit is pending.

                                                 6.

          Defendant Cornerstone Hospital of West Monroe, LLC, through undersigned

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  counsel, will serve by mail a notice of the filing of this removal notice to Plaintiff and

  will cause a copy of this removal notice to be filed with the Clerk of Court of the 4th

  Judicial District Court for the Parish of Ouachita, State of Louisiana, as required by 28

  U.S.C. §1446(d).

                                              7.

         This Court has original jurisdiction over this suit pursuant to 28 U.S.C. §1332 and

  §1441 in that the Plaintiffs’ Petition for Damages, a copy of which is attached hereto as

  Exhibit 1, involve claims between citizens of different states and the amount in

  controversy exceeds $75,000.00, exclusive of interest and costs.

                                              8.

         Although the Plaintiffs plead no specific amount of damages in their prayer for

  relief, in conformity with Louisiana Code of Civil Procedure Article 893, Defendant

  Cornerstone Hospital of West Monroe, LLC reasonably believes, based on the

  allegations set for the Plaintiffs’ Petition for Damages, that the amount in controversy

  exceeds the jurisdictional minimum amount of $75,000.

                                              9.

         This lawsuit involves claims for personal injury. Plaintiffs allege that Defendant

  was negligent in the care delivered or care that should have been delivered to Dorothy

  Jones. Plaintiff Billy W. Jones allegedly was the husband of Dorothy Jones, and Plaintiff

  Brandi Jones allegedly was the daughter of Dorothy Jones. Plaintiffs seek damages for

  past and present medical expenses; past, present and future mental anguish and distress;

  past, present and future physical damages, disability, and suffering; survival action;

  wrongful death; and loss of consortium.

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                                              10.

         Therefore, upon information and good faith belief, Defendant believes that the

  total amount of damages claimed by Plaintiffs exceeds the jurisdictional amount of

  $75,000, exclusive of interest and costs.


                                              11.

         The Plaintiffs’ original Petition for Damages names two Defendants: Cornerstone

  Hospital of West Monroe, L.L.C. (“Cornerstone”), improperly named as Cornerstone

  Hospital of West Monroe; and Professional Home Health Services.

                                              12.

         Complete diversity of citizenship exists between Plaintiffs and Defendants in that:

         (a) As alleged in the introductory paragraph of the Plaintiffs’ Petition, Plaintiffs

             are major domicilliaries of Union Parish, Louisiana;

         (b) The citizenship of a limited liability company (“LLC”) is determined by the

             citizenship of all its members. Harvey v. Grey Wolf Drilling Co., 542 F.3d

             1077, 1081 (5th Cir. 2008). Here, Cornerstone Hospital of West Monroe,

             LLC is a citizen of Delaware and Texas based on the following:

                     (1) Defendant Cornerstone Hospital of West Monroe, LLC is a

             Delaware limited liability company, and its sole member is CS Healthcare

             Louisiana, LLC. (See Exhibit 2, website printout from Delaware Secretary of

             State for Cornerstone Hospital of West Monroe, LLC; and Exhibit 3, “Joint

             Consent of Sole Member and Board of managers in Lieu of Meeting of




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               Cornerstone Hospital of West Monroe, LLC”); 1

                        (2) CS Healthcare Louisiana, LLC is a Delaware limited liability

               company, and its sole member is Cornerstone Healthcare Group Holding, Inc.

               (See Exhibit 5, website printout from the Delaware Secretary of State for CS

               Healthcare Louisiana, LLC; and Exhibit 6, “Joint Consent of Sole Member

               and Board of Managers in Lieu of Meeting of CS Healthcare Louisiana,

               LLC”); 2 and

                        (3) Cornerstone Healthcare Group Holding, Inc. is a domestic

               corporation incorporated on the State of Delaware, with its principal place of

               business (i.e., where the corporation’s high level officers direct, control and

               coordinate the corporation’s activities) 3 and its corporate headquarters located

               at 2200 Ross Avenue, Suite 5400, in Dallas, Texas 75201.4 (See Exhibit 8,

               Affidavit of Kurt Schultz, Treasurer of Cornerstone Healthcare Group

               Holding, Inc.; and Exhibit 9, website printout from Delaware Secretary of

  1         The principal business office of Cornerstone Hospital of West Monroe, LLC is located at 2200
  Ross Avenue, Suite 5400, Dallas, Texas 75201. (See Exhibit 4, website printout from Louisiana Secretary
  of State for Cornerstone Hospital of West Monroe, LLC).

  2       The principal business office of CS Healthcare Louisiana, LLC is located at 2200 Ross Avenue,
  Suite 5400, Dallas, Texas 75201. (See Exhibit 7, website printout from Louisiana Secretary of State for
  CS Healthcare Louisiana, LLC).

  3
            For purposes of diversity of citizenship under 28 U.S.C. §1332 and §1441, “a corporation shall be
  deemed to be a citizen of every State and foreign state by which it has been incorporated and of the State or
  foreign policy where it has its principal place of business….” 28 U.S.C. §1332(c)(1). The phrase “principal
  place of business” in 28 U.S.C. §1332(c)(1) refers to the place where the corporation’s high level officers
  direct, control and coordinate the corporation’s activities. Hertz Corp. v. Friend, 130 S.Ct. 1181 (2010).

  4        The principal place of business and corporate headquarters of Cornerstone Healthcare Group
  Holding, Inc. and the principal business offices of Cornerstone Hospital of West Monroe, LLC and CS
  Healthcare Louisiana, LLC are all the same: 2200 Ross Avenue, Suite 5400, Dallas Texas 75201. (See
  fns. 1 & 2, supra).
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                State for Cornerstone Healthcare Group Holding, Inc.).

          (c) Defendant Professional Home Health Services is a “trade name.” (See

                Exhibit 10, website printout from the Louisiana Secretary of State for

                Professional Home Health Service). As a trade name, Professional Home

                Health Service is not a proper party defendant. See La. Code of Civ. Proc. Art.

                736 (“[a] person who does business under a trade name is the proper defendant

                in an action to enforce an obligation created by or arising out of the doing of

                such business”).5 The person/entity doing business under the trade name of

                Professional Home Health Services is not named as a Defendant herein.

                                                 13.

          The citizenship of Professional Home Health Services should be disregarded for

  purposes of determining diversity jurisdiction because, for the following reasons, it was

  improperly joined to defeat diversity jurisdiction:

          (a)       Professional Home Health Services is a trade name that has no domicile

                    address, and thus no citizenship. (See Exhibit 10, website printout from

                    the Louisiana Secretary of State for Professional Home Health Service);

          (b)       In their Petition for Damages, Plaintiffs have asked to “hold service” on

                    Professional Home Health Services, who, as a trade name, has no agent

                    for service of process and is incapable of being served;

          (c)       Professional Home Health Services is not a proper party defendant,

                    because “[a] person who does business under a trade name is the proper
  5       Under Federal Rule of Civil Procedure 17(b)(2), for parties other than an individual not
  acting in a representative capacity and a corporation, the capacity to sue or be sued is
  determined by the law of the state where the court is located.

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                  defendant in an action to enforce an obligation created by or arising out of

                  the doing of such business.” La. Code of Civ. Proc. Art. 736. The

                  person/entity doing business under the trade name of Professional Home

                  Health Services is not named as a Defendant herein;6

           (d)    Thus, for the above reasons, Plaintiffs have no possibility of recovering

                  against Professional Home Health Services.

                                              14.

           Since Professional Home Health Services is a trade name improperly joined as a

  defendant, it would be impossible to obtain its consent for removal.

                                           PRAYER

           WHEREFORE, considering the premises, Defendant Cornerstone Hospital of

  West Monroe, LLC respectfully prays that this removal notice be deemed good and

  sufficient and that the matter pending in the 4th Judicial District Court for the Parish of

  Ouachita, State of Louisiana, captioned as Billy W. Jones and Brandi Jones v. v.

  Cornerstone Hospital of West Monroe and Professional Home Health Services, and

  bearing Docket No. 13-1989 (CV. Sect. 5), be removed to the docket of this Honorable

  Court.


                                              Respectfully submitted,




                                              PAUL G. PRESTON, T.A. (Bar No. 10711)
                                              LINDA M. UZEE        (Bar. No. 18701)
                                              The Preston Law Firm, L.L.C.
                                              Mailing Address:

  6        Id.
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                                            141 Robert E. Lee Boulevard, #118
                                            New Orleans, LA 70124
                                            76 Tern Street (Street Address)
                                            Tel: 504-282-2530
                                            Fax: 504-282-2531
                                            Attorneys for Defendant, Cornerstone
                                                  Hospital of West Monroe, LLC




                             CERTIFICATE OF SERVICE

         I hereby certify that, on August 14, 2013, a copy of the foregoing pleading has
  been electronically filed using the CM/ECF system which will provide notice to all
  counsel of record, and/or a copy has also been served on all counsel of record by email,
  facsimile or depositing same in the United States mail, properly addressed and postage
  prepaid.


                                              ____________________________________
                                                          Paul G. Preston




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